                     Case 1:21-cv-03354-BAH Document 104 Filed 10/27/23 Page 1 of 1
AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                                   District
                                             __________     of Columbia
                                                         District of __________


                    Ruby Freeman et al.                        )
                             Plaintiff                         )
                                v.                             )      Case No. 1:21-cv-03354 (BAH)
                     Rudolph W. Giuliani                       )
                            Defendant                          )

                                              APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

         Plaintiffs Ruby Freeman and Wandrea ArShaye ("Shaye") Moss                                                    .


Date:          10/27/2023                                                               /s/ Brittany Williams
                                                                                         Attorney’s signature


                                                                                Brittany Williams (MA Bar #690783)
                                                                                     Printed name and bar number


                                                                                   United to Protect Democracy
                                                                                    15 Main Street, Suite 312
                                                                                      Watertown, MA 02472
                                                                                               Address

                                                                              brittany.williams@protectdemocracy.org
                                                                                            E-mail address

                                                                                          (202) 579-4582
                                                                                          Telephone number

                                                                                          (929) 777-8428
                                                                                             FAX number
